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 5                                    UNITED STATES DISTRICT COURT
 6                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8     RALPH COLEMAN, et al.,                          No. 2:90-cv-0520 KJM SCR P
 9                       Plaintiff,
10            v.                                       ORDER
11     GAVIN NEWSOM, et al.,
12                       Defendants.
13

14

15           The technical advisor appointed by the court on August 27, 2024, ECF No. 8377, has
16    submitted his invoice for services rendered in August 2024. A copy of the invoice is attached.
17           In accordance with the August 27, 2024 order and good cause appearing, IT IS HEREBY
18    ORDERED that defendants shall forthwith pay to
19                          Leading Resources Inc.
                            Attn: Eric Douglas
20                          1930 N Street
                            Sacramento, CA 95811
21
       the amount of $1,125.00 as payment of the statement attached to this order.
22
               A copy of Form W-9 for Leading Resources Inc. is available upon request directed
23
      to the undersigned through Courtroom Deputy Casey Schultz.
24

25    DATED: September 6, 2024.

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               Attachment
                Case 2:90-cv-00520-KJM-SCR Document 8389 Filed 09/09/24 Page 3 of 3




  BILL TO                                                                                                DATE            INVOICE NO.
United States District Court for the                                                                    9/2/2024            4181
Eastern Disctrict of California




                                                                                      P.O./CONTRACT #                    TERMS

                                                                                             24021

    DATE          DESCRIPTION                                                                    HOURS          RATE         AMOUNT

                Eric Douglas
  8/25/2024     Review materials and provide technical advice to Judge Mueller.                      3          375.00        1,125.00
                Subtotal                                                                                                      1,125.00
                Sales Tax                                                                                       7.75%             0.00




                                                                             Invoice Total                                   $1,125.00

                                                                             Payments/Credits                                    $0.00
                                                                             Balance Due                                     $1,125.00
